 Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 1 of 10 PageID: 181



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY



______________________________
                              :
UNITED STATES OF AMERICA      :
                              :         Crim. No. 10-051-1 (NLH)
     v.                       :
                              :
ANTHONY BERRY                 :         OPINION
               Defendant      :
______________________________:


APPEARANCES:

FEDERAL PUBLIC DEFENDER’S OFFICE
By: Adam K. Axel, Assistant Federal Public Defender
1002 Broad Street
Newark, New Jersey 07102

     On behalf of Defendant Anthony Berry

OFFICE OF THE UNITED STATES ATTORNEY
By: Sara A. Aliabadi, Assistant United States Attorney
401 Market Street, 4th Floor
Camden, New Jersey 08101

     On behalf of the United States of America



HILLMAN, United States District Judge

     This matter comes before this Court upon Defendant Anthony

Berry’s Supplemental Motion for Reduction of Sentence [Dkt. No.

30] and prior pro se Motion for Reduction of Sentence [Dkt. No.

28], both pursuant to the First Step Act, 18 U.S.C. §

3582(c)(1)(A).    Defendant is an inmate currently serving

concurrent sentences from the District of New Jersey and the
 Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 2 of 10 PageID: 182



Eastern District of Pennsylvania at Federal Correctional

Institution (“FCI”) Schuylkill, a medium-security federal prison

in Minersville, Pennsylvania.

       In the instant motion, Defendant seeks immediate release to

home confinement on the basis of two medical conditions, Type 2

diabetes and elevated cholesterol, both of which he contends put

him at a heightened risk for complications if he contracts

COVID-19.    The Government opposes Defendant’s motion, arguing

that Defendant has demonstrated neither extraordinary

circumstances warranting his release, nor that he merits release

under the factors set forth in 18 U.S.C. § 3553(a).           The

Government also asserts that the Federal Bureau of Prisons

(“BOP”) has taken significant steps to protect the health of

inmates in its custody, including those housed at FCI

Schuylkill.

       For the reasons stated below, Defendant’s motion will be

denied.

  I.      FACTUAL AND PROCEDURAL BACKGROUND

       On January 28, 2010, Defendant pleaded guilty to a two

count Information, on charges – namely, conspiracy to commit

robbery, and use of a firearm during and in relation to a crime

of violence - stemming from his role in the April 2008 armed

robbery of a Sports Authority distribution facility in

Burlington Township, New Jersey.

                                     2
    Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 3 of 10 PageID: 183



        On October 5, 2010, the late Judge Joseph E. Irenas

sentenced Defendant to 225 months’ total imprisonment, 50 months

of which were to be served concurrently with a 135-month

sentence previously imposed in the Eastern District of

Pennsylvania for other crimes, including a March 2009 armed

robbery of a business during which a victim was shot.

        Defendant first submitted a request for compassionate

release to Warden Scott Finley of FCI Schuylkill on April 20,

2020.      Warden Finley issued a denial of that request on May 8,

2020.      On May 29, 2020, Defendant filed a pro se motion, and on

June 23, 2020, filed a supplemental motion through counsel,

seeking compassionate release pursuant to 18 U.S.C. §

3582(c)(1)(A).       Defendant alleges that he suffers from Type 2

diabetes and elevated cholesterol, both of which make him

particularly vulnerable to becoming seriously ill from COVID-19,

and that he is more likely to contract COVID-19 while

incarcerated at FCI Schuylkill. 1

     II.   LEGAL STANDARD

        “The recently enacted First Step Act allows a defendant to

be afforded compassionate release for ‘extraordinary and

compelling reasons.’” United States v. Sellers, Crim. No. 10-




1 Defendant also alleges he has only one kidney, but does not
otherwise explain how that elevates his risk of infection with
or complications from COVID-19.

                                        3
 Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 4 of 10 PageID: 184



434, 2020 WL 1972862, at *1 (D.N.J. April 24, 2020) (quoting 18

U.S.C. § 3582(c)(1)(A)(i)).      Before bringing a motion for

reduced sentence on their own behalf, defendants first “must ask

the Bureau of Prisons (‘BOP’) to do so on their behalf, give BOP

thirty days to respond, and exhaust any available administrative

appeals.” United States v. Raia, Civ. No. 20-1033, 2020 WL

1647922, at *1 (3d Cir. April 2, 2020) (citing 18 U.S.C. §

3582(c)(1)(A)).    “Thus, under the First Step Act, a defendant

seeking a reduction in his term of imprisonment bears the burden

of satisfying both that he has (1) exhausted remedies before

seeking judicial review, and (2) that compelling and

extraordinary reasons exist to justify compassionate release.”

Sellers, 2020 WL 1972862 at *1 (citing 18 U.S.C. §

3582(c)(1)(A)).

     At this second step, a court may reduce an inmate’s

sentence pursuant to 18 U.S.C. § 3582(c)(1)(A) “if the court

finds that (1) extraordinary and compelling reasons warrant a

reduction, (2) the reduction would be consistent with applicable

policy statements issued by the Sentencing Commission, and (3)

the applicable sentencing factors under § 3553(a) warrant a

reduction.” United States v. Pabon, Crim. No. 17-165-1, 2020 WL

2112265, at *2 (E.D. Pa. May 4, 2020).




                                     4
 Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 5 of 10 PageID: 185



  III. DISCUSSION

     As the nation continues to grapple with the COVID-19

pandemic, the Court considers Defendant’s Motion and its

underlying concerns with seriousness.        However, as the United

States Court of Appeals for the Third Circuit has articulated,

“the mere existence of COVID-19 in society and the possibility

that it may spread to a particular prison alone cannot

independently justify compassionate release, especially

considering BOP’s statutory role and its extensive and

professional efforts to curtail the virus’s spread.” United

States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

     Defendant alleges, and the Government does not dispute,

that Defendant has satisfied the exhaustion requirement by

submitting a request for compassionate release to the FCI

Schuylkill administration and receiving a denial of that

request.   Therefore, the Court focuses on the second step of the

analysis: whether extraordinary and compelling reasons exist to

justify compassionate release.

     Defendant contends that “extraordinary and compelling

reasons” exist to justify compassionate release based on

Defendant’s diagnosis of diabetes, which allegedly makes him

“particularly vulnerable to severe illness from COVID-19.”

     First, Defendant argues that his diabetes puts him in a

“high risk” group under guidance disseminated by the Centers for

                                     5
    Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 6 of 10 PageID: 186



Disease Control and Prevention (the “CDC”).            In response to the

COVID-19 pandemic, the CDC published guidance on its website,

advising Americans that “older adults [65 years and older] and

people of any age who have serious underlying medical conditions

might be at higher risk for serious illness from COVID-19.” 2              The

CDC states that “Type 2 diabetes mellitus” is an underlying

medical condition that puts individuals at heightened risk for

severe illness if they contract COVID-19.

        The Government acknowledges the CDC’s classification of

Type 2 diabetes, but argues Defendant’s medical records indicate

that his condition is well-controlled and that he has yet to

experience any diabetes-related complications during his term of

incarceration.

        Defendant also argues that his high cholesterol levels

similarly put him at risk for severe illness.             The Government

responds by noting that the CDC has not recognized elevated

cholesterol as a “high risk” condition, and that moreover his

condition is also well-controlled with medication he receives in

prison.




2 Centers for Disease Control and Prevention, People Who Are at
Increased Risk for Severe Illness, available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/people-at-increased-risk.html (accessed on July 12,
2020).

                                        6
 Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 7 of 10 PageID: 187



     Although the Court is sympathetic to Defendant’s concerns

about becoming seriously ill were he to contract COVID-19, his

medical history does not seem to suggest that his diabetes

creates an “extraordinary and compelling” risk, or that it is

not capable of being controlled by careful attention to the

medication and behavioral prescriptions of Defendant’s

physicians.

     Next, Defendant argues that prison conditions at FCI

Schuylkill, and in BOP custody generally, put Defendant at

heightened risk of contracting COVID-19.         Defendant asserts that

as of June 17, 2020, only eleven inmates at FCI Schuylkill had

been tested for the coronavirus, and that therefore “[t]he true

figures [of infected] are likely astronomically higher”.

Defendant does not otherwise allege specific shortcomings at FCI

Schuylkill, but cites a March 2020 CDC “interim guidance”

publication for the proposition that “there is an

extraordinarily high risk of accelerated transmission of COVID-

19 within prisons”.

     The Government argues that BOP has undertaken a number of

interventions, in accordance with its Coronavirus (COVID-19)

Action Plan (the “Action Plan”), to minimize risk of virus

transmission into and within BOP facilities.          These steps

include imposing restrictions on visitation, transfers, and non-

essential activities; increasing medical screening of inmates

                                     7
    Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 8 of 10 PageID: 188



and staff; and implementing changes in facility maintenance and

sanitation.      These steps appear to have had some effectiveness.

According to the BOP website, as of the date of this Opinion FCI

Schuylkill has only one confirmed active case. 3

        The Court is mindful that the general conditions of

incarceration – confinement in relatively small enclosed spaces,

use of common bathrooms, rationed access to hygienic products

and healthcare – make prisons potential “hot spots” for virus

transmission.       However, given the markedly restrained

progression of the virus within FCI Schuylkill, as compared to

within the Delaware Valley region generally, BOP’s Action Plan

appears to be having a positive impact.

        Under the circumstances, granting Defendant’s request to be

released to reside with his wife in Philadelphia, Pennsylvania

could place him at greater risk of contracting COVID-19 than the

risk he currently faces.         As of July 11, 2020, Philadelphia had

28,024 confirmed cases and 1,664 deaths and a stated risk of

community transmission of “high.” 4




3 See https://www.bop.gov/coronavirus/ (last visited July 16,
2020).
4 City of Philadelphia, Coronavirus Disease 2019, “Current

Situation and Risk in Philadelphia”, available at
https://www.phila.gov/programs/coronavirus-disease-2019-covid-
19/ (accessed on July 16, 2020).


                                        8
 Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 9 of 10 PageID: 189



     The Court is sympathetic to Defendant’s concerns for his

health while in custody.      Nevertheless, Defendant has failed to

demonstrate that such concerns provide “extraordinary and

compelling” reasons justifying his compassionate release.

     In the alternative, if the Court were to decide that

Defendant had demonstrated “extraordinary and compelling”

reasons for release, it would also have to weigh the sentencing

factors set forth in 18 U.S.C. § 3553(a), such as the nature and

circumstances of the crime, Defendant’s background and

characteristics, and the need for specific and general

deterrence. See Pabon, 2020 WL 2112265, at *2.

     In this case, several factors weigh heavily against

release.   Defendant’s crime of conviction was an armed robbery,

a serious offense.     Defendant’s background includes the

commission of multiple armed robberies, including one in which

an victim was shot during the course of the robbery.           These are

serious crimes that should give any court pause in considering

early release.

     Additionally, Defendant has yet to begin serving the

portion of his sentence separate from that for his crimes

committed in the Eastern District of Pennsylvania.           Release now

would mean that he effectively served no prison time for the

crime he committed in the District of New Jersey.          This would be

inconsistent with notions of both specific and general

                                     9
Case 1:10-cr-00051-NLH Document 34 Filed 07/17/20 Page 10 of 10 PageID: 190



deterrence.   The Court thus finds in the alternative that the

sentencing factors in 18 U.S.C. § 3553(a) weigh against

Defendant’s release.

  IV.   CONCLUSION

     For the foregoing reasons, Defendant’s Supplemental Motion

for Reduction of Sentence [Dkt. No. 30] and prior pro se Motion

for Reduction of Sentence [Dkt. No. 28], both pursuant to the

First Step Act, 18 U.S.C. § 3582(c)(1)(A), will be denied.

     An Order consistent with this Opinion shall issue on this

date.



DATED: July 17, 2020

                                         _s/ Noel L. Hillman______
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




                                    10
